Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 1 of 28

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

JESSICA A. FRANKLIN, .
VICTORIA FRANKLIN, :
LAMAR J. NET'I`LES, '
EILEEN PITT

Plaintiffs,
v.

TRI-STA'I`E AUTO, INC., :
JESSICA L. CHECCHIA, '
MIKE,

WESTLAKE FINANCIAL,
JOHN DOE REPO-SERVICE,
JOHN DOE REPO-MAN 1,
JOHN DOE REPO-MAN 2

Defendants. :
,,CMALN_T_

A. Jurisdiction and -Venue

1. Jurisdiction arises under 15 U.S.C. §1692k(d), 28 U.S.C. §§ 1331, 1337(a),
together With the pendent jurisdiction of the court. Supplemental jurisdiction over Plaintiff’s
state law claims is granted by 28 U.S.C. § 1367(a). Declaratory relief is available pursuant to 28
U.s.c. §§ 2201 and 2202. '

2. Venue lies in this judicial district in that the events Which gave rise to this claim
occurred here and the property Which is the subject of the action is situated Within this district
B- P_&\M

3. Plaintit`f MS. }ESSICA FRANKLIN, is a natural person who resides at 1624 W.

Godfrey Street, Philadelphia, PA 19£41.

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 2 of 28

4. Plaintit`f MS. VICTORIA FRANKLIN, is a natural person Who resides at 2127
Homer Street, Philadelphia, PA 19138.

5. ' Plaintiff MR. LAMAR J. NETTLES, is a natural person Who resides at 1624 W.
Godt_`rey Avenue, ZF, Philadelphia, PA 19141.

6. Plaintiff EILEEN PITT, is a natural person Who resides at 2127 Homer Street,
Philadelphia,PA 19138.

7. Defendant, TRl-STATE AU'I`O, INC. (TSA) is a corporation licensed to do
business in the Commonwealth of Pennsylvania, in the business of buying, selling and servicing
motor vehicles, and regularly conducting business in the City of Philadelphia and having a
principal place of business With a registered corporate headquarters located at 6626 N. Broad
Street, Philadelphia, PA 19116; at all times relevant, acting alone or in concert With others,
formulated, directed, concealed, controlled, conspired, substantially assisted, enabled and/or
participated in the acts and practices set-forth in this Complaint.

8. Defendant JESSICA L. CHECCHIA is a management level employee of TSA and
at all times relevant, acting alone or in concert With others, formulated, directed, concealed,
controlled, conspired, substantially assisted, enabled and/or participated in the acts and practices
set-forth in this Complaint.

9. Defendant MIKE, is a management level employee of TSA and at all times
relevant, acting alone or in concert with others, formulated, directed, concealed, controlled,
conspired, substantially assisted, enabled and/or participated in the acts and practices set-forth in
this Complaint. l

lO. Defendant WESTLAKE FINANCIAL is a corporation licensed to do business in
2

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 3 of 28

the Coinmonvvealth of Pennsylvania With principal offices at 4751 Wilsbire Blvd., Ste 100, Los
Angeles, CA 900l0-3847, and regularly and at all times relevant herein conducted business in
the Commonvvealth of Pennsylvania and in Philadelphia County.

ll. Defendant JOHN DOE REPO~SERVICE is a corporation regularly engaged in the
business of debt collection and automobile repossession in Philadelphia County, With a principal
place of business in located at 2546 W. Main Street, leftersonville, PA 19403, and regularly and
at all times relevant herein conducted business in the Commonwealth of Pennsylvania and in
Philadelphia County.

12. Defendant JOHN DOE REPO~AGENT 1, is a natural individual and an agent or
employee of JOHN DOE REPO~SERVICE, and regularly and at all times relevant herein
conducted business in the Commonwealth of Pennsylvania and in Philadelphia County.

13. Defendant JOHN DOE REPO~AGENT 2, is a natural individual and an agent or
employee of JOHN DOE REPO-SERVICE, and regularly and at all times relevant herein
conducted business in the Cornmonwealth of Pennsylvania and in Philadelphia County.

14. At all times relevant hereto, defendants acted by and through their agents,
servants, and employees Who acted within the scope of their authority and Within the course of
their employmentl

C. Factual Allegatiens

a) Fraudulent Sale

15. la or around April 2009, Plaintiff JESSICA FRANKLIN visited the TSA sales

dealership at the location identified above.

l6. Prior to the execution of any contracts, and at all times relevant thereafter, TSA,

3

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 4 of 28

CHECCHIA and/or MIKE, made the following representations expressly andfor impliedly about

the subject vehicle:

a) the subject vehicle was in good, safe and operable condition;
b) the subject vehicle was free of defects',
c) the vehicle was NOT in an accident or damaged;
d) the vehicle was in excellent condition;
e) the vehicle had not been in any accidents or been damaged;
f) 1 the paperwork was being completed lawfully;
g) the financing teJOHN DOE REPO-SBRVICE were the best available;
h) the vehicle was formerly privately owned.
17. Prior to the execution of any agreements, and at all times relevant thereafter,

TSA, CHECCHIA and/or MIKE concealed the following facts from the plaintiff JESSICA

FRANKLIN about subject vehicle and transaction:

a)
b)
C)
d)
€)

the vehicle was not formerly privately owned;

the vehicle was formerly a rental vehicle ;

the vehicle had been in an accident and had been damaged;
the paperwork Was not completed properly;

the documentary fee was unlawful.

18. By a Buyer’s Order (BO) and Retail installment Sales Contract (RISC) the

Plaintiff JESSICA FRANKLIN and TSA ostensibly and apparently agreed to the teJOHN DOE

REPO-SERVICE for the financed purchase/sale of the subject 2004 Dodge Stratus (VIN:

4B3AG42G74E65194).

19. Tlre BO and RISC were contained in the vehicle when it was unlawfully taken

from plaintiff JESSICA FRANKLIN, an event that is more fully described below. As result, the

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 5 of 28

BO and RISC are not in Plaintiff JESSICA FRANKL]N's possession However, the BO and
RISC were standardized form contracts and by law copies should be in the possession of TSA
and WESTLAKE FYNANCIAL.

2(). if Plaintiff JESSICA FRANKLIN had known that the vehicle had been in an
accident or had been damaged or was defective, or was not good, safe and operable, 0r that it was a
rental vehicle formerly, or that the defendants were providing financing inconsistent with their
representations, then Plaintifi` would have not purchased the vehicle.

21. Pursuant to the express terms of the RISC, State common law of assignments, and
Statutory law, WESTLAKE FINANCIAL “stepped into the same shoes” of TRl-STATE AUTO
and became derivatively, jointly, severally and fully liable for all of TRl-STATE AUTO‘s
misconduct, including for all of the claims set forth in this Complaint, including fraud, breach of
contract, negligence, breach of fiduciary duty, negligent misrepresentation, violation of the UCC,
violation of the MVSFA, violation of the MVICSA, and violation of the UTPCPL.

b) Unlawful Attempted Repossession and Assault

22. On or about December 2010, plaintiff JESSICA FRANKLIN and WESTLAKE
FiNANClAL entered into an agreement according to which WESTLAKE FINANCIAL would
bring plaintiff JESSlCA FRANKLlN's account current so long as plaintiff made a partial
payment and WESTLAKE FINANCIAL would add any remaining amount due to the end of the
loan.

23. Defendant WESTLAKE FINANCIAL also failed and/or refused to record and/or
allocate properly two paymentsl

24. On January lO, 2011, at approximately 3:00 AM, Def`endant WESTLAKE
5

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 6 of 28

FINANCIAL caused defendants .TOHN DOE REPO-SERVICE and JOHN DOE REPO-MAN
came to Plaintiff JESSICA FRANKLlN's residence and took the subject vehicle from plaintiff
without right.

25. Before the vehicle was hooked up or the repossession agents had otherwise taken
possession of the vehicle, the repossession agents knocked on plaintiff JESSICA FRANKLIN's
door and rudely, aggressively and provocatively demanded the the vehicle keys.

26. Plaintiff JESSICA FRANKLIN then told the repossession agents repeatedly to
stop and go away. l

27. ' The repossession agents refuse to stop or go away.

28. When plaintiff JESSlCA FRANKLIN attempted to leave her home to stop the
repossession from taking her vehicle, JOHN DOE REPO-MAN 1 blocked plaintiff from leaving
her home by holding the door shut

29. Defendant WESTLAKE FlNANClAL contracted with and hired Defendants
JOHN DOE REPO-SERVICE and JOHN DOE REPO~MAN to repossess the subject vehicle
whereupon

30. Defendants JOHN DOE REPO-SERVICE and JOHN DOE REPO-MAN acted as
WESTLAKE FlNANClAL's agent at all times relevant.

31. When the defendants caused the subject vehicle to be taken from plaintiff
JESSICA FRANKLIN, the plaintiff was not and could not have been in default.

32. When the defendants caused the subject vehicle to be taken from plaintiff
JESSICA FRANKLIN, the defendants did not have a present right of possession

33. Plaintiff JESSICA FRANKLM advised defendant WESTLAKE PINANCIAL
6

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 7 of 28

that she was not in default and regarding the misconduct in connection with the sale of the
vehicle and the origination of the subject RlSC.

34. Defendant WESTLAKE FINANCIAL told plaintiff JESSICA FRANKLIN that
any misconduct was between plaintiff and the dealer and plaintiff and the repossessor and did not
affect WESTLAKE FlNANClAL‘s or plaintiffs rights and responsibilities

35. Plaintiff JESSICA FRANKLIN demanded that defendant WESTLAKE

lFlNANClAl_, return the subject vehicle

36. Defendant WESTLAKE FlNANCIAL refused to return the subject vehicle despite
full knowledge that it did not have a present right of possession

37. Throughout the collection process described above, and as a direct and proximate
result of the actions of Defendants in harassing, oppressing, and abusing Plaintifl`s, Plaintiffs
suffered actual damages in the form of the loss of the subject vehicle, damage to their credit ratings
and credit reputations, and/or emotional distress, armiety, embarrassment, fear, and sleeplessness,
among other negative emotions.

38. The actions of defendants as before described were performed by their respective
agents, officers, and employees within the scope of their actual or apparent authority

39. Any payments made by plaintiff JESSICA FRANKLIN were made as a result of
defendant WESTLAKE FlNANClAL’s fraud and deceit and under extreme duress.

40. On or about September 3(), 2009, plaintiff JESSICA FRANKLIN sent defendant
WESTLAKE FINANCIAL requests for an accounting, statement of account and other
information and records pursuant to 69 P.S. § 628, 13 Pa.C.S.A. § 620, 13 Pa.C.S.A. § 9210 and

15 U.s.c. § 164r(i)(2).

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 8 of 28

41. Defendant WESTLAKE FIANCIAL did not respond within l4 days as required.

42. Defendants WESTLAKE FINANCIAL had a non-delegable duty to ensure that
any self-help or non-judicial repossession would be effectuated without a breach of the peace,
and is responsible for and liable for any misconduct in connection with the repossession

43. Pursuant to the express teJOl-ll\l DOE REPO-SERVICE of the RISC, State
common law of assignments, and Statutory law, WESTLAKE FINANCIAL “stepped into the
same shoes” as the Dealer Defendants and became derivatively, jointly, severally and fully liable
for all of the Dealer Defendants’ misconduct, including for all of the claims set forth in this
Complaint.

44. The Plaintiff JESSlCA FRANKLIN has no experience in or specialized
knowledge related to the automotive industry, and/or related to motor vehicles, motor vehicle
sales, motor vehicle repair, and/or consumer finance.

45. At all times relevant, TSA promised to take good care of the Plaintiff JESSICA
FRANKLIN.

46. "l`SA stood in a position of trust and confidence

47. Plaintiff JESSICA FRANKLIN surrendered substantial control over the financing
of the subject purchase

48. By virtue of their position of trust and confidence, their unequal sophistication
and expertise, TSA had the means to take advantage and exercise undue influence over plaintiff
JESSICA FRANKLlN.

49. The purchase or lease of a motor vehicle is one of the largest investments that

many, if not most, consumers make.

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 9 of 28 ,

50. The subject purchase was the plaintiff JESSICA FRANKLIN's first or second
greatest investment

5 l. TSA stood in a fiduciary relationship with the plaintiff JESSICA FRANKLIN.

52. TSA exploited their fiduciary relationship by deceiving the plaintiff JESSICA
FRANKLIN regarding the parties' respective rights and duties under the RlSC, and concealing
the nature of TSA’s conduct (misconduct).

53.' The established business practices discussed in the preceding paragraphs caused
plaintiff JESSlCA FRANKLIN to misunderstand how defendants were treating the Credit
Contract, prevented plaintiff fi'orn accurately appreciating their ability to afford and to repay the
financing, and caused plaintiff to suffer, annoyance, embarrassment fear, and other general
distress damages, and caused plaintiffs to be denied the benefits of the consumer protection
statutes specifically designed to protect them.

54. Defendants TSA and WESTLAKE Fl'NANClAL are in the business and regularly
extend credit to consumers in the manner described above.

55. 'fhe subject vehicle was purchased by the plaintiff JBSSICA PRANKLIN
primarily for personal use.

56. The established business practices discussed in the preceding paragraphs were
created, implemented, approved, and/or supervised by the Defendants.

57. Defendant WESTLAKE FlNANCIAL‘s representatives, including Pedro, Maria,
Hector, Persilla, Vidu and Walter, and including WESTLAKE FINANCIAL's supervisos,
repeatedly insulted Plaintiff JESSICA FRANKLIN, including calling her a “liar” and “loser,”

and repeatedly called Plaintiff JESSICA FRANKLIN at work, despite being told not to, and told
9

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 10 of 28

Plaintiff .lESSlCA FRANKLlN her job was “not that good, if she can't make a payment.”_

58. As a result of the Defendants' unlawful actions, the plaintiff JESSICA
FRANKLIN has been deprived of the use of the vehicle, has incurred expenses for replacement
transportation, has suffered damage to her credit rating and credit reputation, and has suffered
extreme emotional distress, frustration, humiliation, andfor embarrassment

59. Plaintiff JESSICA FRANKLIN has been and will continue to be financially
damaged due to Defendants’ intentional, reckless, wanton, and/or negligent failure to honor their
contractual obligations and the damage to her credit rating and reputation

60. During all times relevant the Defendants deceived the Plaintiffs into believing
Defendants’ actions were lawful, and/or concealed their actions’ unlawful nature.

61. At all times relevant the plaintiff JESSICA FRANKLIN relied on Defendants’
apparent and claimed experience, sophistication and expertise in inspecting, repairing, selling
and!or financing motor vehicles

62. Upon information and belief, WESTLAKE FlNANCIAL contracted with JOl-ll\l
DOE REPO-SERVICE and J'OHN DOE REPO~MAN l and JOHN DOE REPO~MAN 2 to take
the subject vehicle from plaintiff.

63. At the time the aforementioned defendants engaged in the collection and
repossession activities described herein, defendants JOHN DOE REPO-SERVICE and JOHN
DOE REPO-MAN 1 and JOHN DOE REPO-MAN 2 were debt collectors as defined by 15
u.s.c. §16923(6) insofar as:

a) Each defendant uses a tow vehicle as an instrumentality of interstate commerce

in its business the principal purpose of which is the enforcement of security
interest

10

 

Case 2:12-cV-00095-HB Document 1' Filed 01/09/12 Page 11 of 28 .

b) Each, by their respective actions in breaching the peace to effectuate a
repossession, lost any present right to the collateral securing plaintiff JESSICA
FRANKLlN’s debt '

64. On numerous occasions in excess of 30 times, Defendants WESTLAKE
FNANCIAL and JOHN DOE REPO~SERVICE called Plaintiffs VICTORIA FRANKLIN,
LAMAR J. NETTLES and ElLEEN PITT on their cell phones.

65. Neither WESTLAKE FINANCIAL nor JOHN DOE REPO-SERVICE were ever
authorized to call Plaintiffs VlCTORlA FRANKLN, LAMAR J. NETTLES and EILEEN Pl'l"l`
regarding Plaintiff JESSICA FRANKLIN and/or on their cell phones. l

66. Defendants WESTLAKE FINANCIAL nor JOHN DOE REPO-SERVICE released
Plaintiff JESSICA FRANKLIN’s personal private information, including that they were calling
about a debt, that Plaintiff JESSICA FRANKLIN allegedly was behind in her payments, and that
Defendants wanted to repossess Plaintiff JESSICA FRANKLIN's vehicle.

67. Upon information and belief, all telephone contact by WESTLAKE
FINANCIAL and JOl-lN DOE REPO~SERVICE to third parties Plaintiffs VICTORIA
FRANKLIN, LAMAR J. NETTLES and EILEEN PITT described herein on their cellular
telephone occurred via an “automatic telephone dialing system”, as defined by 47 U.S.C.§227(a)
(i), and all calls that are the subject of this Complaint occurred within four years of the filing of
this Complaint.

68. Plaintiffs VlCTORlA PRANKLIN, LAMAR J. NETTLES and EILEEN Pl"l`T were
unrelated to Plaintiff JESSICA FRANKLlN's debt.

69. Plaintiffs VICTORIA FRANKLIN, LAIVIAR J. NETTLES and ElLEEN PITT

ll

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 12 of 28

repeatedly advised Defendants WESTLAKE FlNANClAL and JOl-lN DOE REPO~SERVICE that
they were not authorized to call them on their cell phones or to discuss Plaintiff JESSICA
FRANKLlN's private, personal business, and that the cell phone numbers were theirs and not
Plaintiff Jessica Franklin’s. Despite these repeated admonitions, Defendants WESTLAKE
FlNANClAL and JOHN DOE REPO-SERVICE and to release Plaintiff JESSICA FRANKLlN's
personal private information

70. None one ever provided any of Plaintiffs VICTORIA FRANKLlN's, LAMAR J.
NETl`LES's and EILEEN PlT'f's cell phone numbers

71. "l`hroughout the collection process described above, and as agdirect and proximate
result of the actions of Defendants WESTLAKE FlNANClAL, .lOHN DOE REPO-SERVICE,
JOHN DOE REPO-MAN 1 and JOHN DOE REPO~l\/IAN 2 abusing Plaintiffs, Plaintiffs have
suffered actual damages in the form of emotional distress, anxiety, embarrassment fear, and
sleeplessness, among other negative emotions.

72. The actions of defendants as before described were performed by their respective
agents, officers, and employees within the scope of their actual or apparent authority.
D. Causes of Action

COUN'I` I - _FRAUD
(Plaintiff JESSICA FRANKLIN v. TRI-STATE AU’I`O,
CHECCIA, MIKE and WESTLAKE FINANCIAL)

73. Plaintiff incorporates all facts and allegations set forth in this Complaint.

74. As the assignee of the RlSC, WESTLAKE FINANCIAL are subject to all of the
same claims as TSA.

75. Prior to the execution of any contracts, and at all times relevant thereafter, TSA,

12

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 13 of 28

CHECCHIA and/or MIKE, made the following representations expressly and/or impliedly about

the subject vehicle:

a) the subject vehicle was in good, safe and operable condition;

b) the subject vehicle was free of defects;

c) the vehicle was NOT in an accident or damaged;

d) the vehicle was in excellent condition;

e) the vehicle had not been in any accidents or been damaged;

f) the paperwork was being completed lawfully;

g) the financing teJOl-lN DOE REPO-SERVICE were the best available;
h) the vehicle was formerly privately owned.

76. Prior to the execution of any agreements, and at all times relevant thereafter,
TSA, CHECCHIA and/'or MIKB concealed the following facts from the plaintiff about subject

vehicle and transaction:

a) the vehicle was not formerly privately owned;
b) the vehicle was formerly a rental vehicle;
c) the vehicle had been in an accident and had been damaged;
d) the paperwork was not completed properly;
e) the documentary fee was unlawful
77. The misrepresentations and omissions identified in the immediately preceding

paragraphs, were known or should have been known to TSA to be false when made, were
material in nature, and were made with the intent to deceive, defraud and/or induce the Plaintiff,

and in fact, induced her to purchase the automobile at the price listed in the purchase agreement

13

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 14 of 28

78. TSA knew that the Plaintiff had no special knowledge in the purchase, financing
and condition of automobiles and would rely on their representations

79. The Plaintiff relied on the TSA’s misrepresentations and was induced to sign the
RlSC and other documents related to which plaintiff apparently and ostensibly purchased and
financed the aforementioned automobile at the inflated amount listed in the purchase agreement

80. The 'fSA‘s actions as hereinbefore described were reckless, outrageous, willful,
and wanton, therebyjustifying the imposition of exemplary, treble and/or punitive damages

81. As a result of TSA‘s misconduct the Plaintiff suffered the damages outlined

above and in the following additional ways:

a. increased purchase costs;

b. damaged credit rating and reputation',

c. deprived of the use and enjoyment of the vehicles;

d. incurred cost of replacement vehicles;

e. spent time resolving problems created by Defendants’ breach;
f. incurred other incidental and consequential damages, including

emotional distress; andfor,
g. incurred increased interest and other expenses for financing the purchase
of the vehicle.
COUNT II -
UNFAIR TRADE PRACTICES AND CONSUMER PROTECTION LAW
(Plaintiff JESSICA FRANKLIN v. TRI-STATE AUTO, CHECCIA, MIKE and
WESTLAKE FINANCIAL)

82. Plaintiff incorporates all facts and allegations set forth in this Complaint.

83. The actions and omissions of Defendants as hereinbefore and hereinafter

14

 

t Case 2:12§cV-00095-HB Document 1 Filed 01/09/12 Page 15 of 28

described constitute violations of the Unfair Trade Practices and Consumer Protection Law
(UTPCPL), 73 Pa.C.S.A. sec. 201-1 et. seq., which are in-and-of-themselves fraudulent5
deceptive and misleading, constituting violations of the Unfair Trade Practices and Consumer
Protection Law, 23 Pa.C.S.A. sec. 201-l et. seq.

84. 'l`he actions and omissions of Defendants has hereinbefore and hereinafter
described constitute violations of the following sections of the UTPCPL 73 P.S. § 201-2(4):

(ii) Causing likelihood of confusion or of misunderstanding as to the source,
sponsorship, approval or certification of goods or services;

(v) Representing that goods or services have sponsorship, approval,
characteristics, ingredients, uses, benefits or quantities that they do not have or
that a person has a sponsorship, approval, status, affiliation or connection that he
does not have;

(vi) Representing that goods are original or new if they are deteriorated, altercd,
reconditioned, reclaimed, used or secondhand;

(vii) Representing that goods or services are of a particular standar‘d, quality or
grade, or that goods are of a particular style or model, if they are of another;

(ix) Advertising goods or services with intent not to sell them as advertised;

(xi) Making false or misleading statements of fact concerning the reasons for,
existence of, or amounts of price reductions;

(xxi) Engaging in any other fraudulent or deceptive conduct which creates a
likelihood of confusion or of misunderstanding

85. Defendant WESTLAKE Fll\iANClAL's denial of its derivative liability as the
assignee of the subject RlSC is unreasonable, reckless and in bad faith, and is an unfair and
deceptive act in violation of the UTPCPL.

Pennsylvania Motor Vehicle Sales Finance Act

86. Defendants TSA, CHECCHIA, l\/llKE and WESTLAKE FINANCIAL are
licensed pursuant to 69 P.S. § 604.

87. Pursuant to 69 P.S. § 610, defendants’ licenses may be revoked if it has violated

any provision of the MVSFA.
15

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 16 of 28

88. Pursuant to 69 P.S. §§ 610 and 612, defendants must maintain satisfactory records

to determine that the business is being operated in accordance with the MVSFA and may not

falsify any records.
89. Defendants vioiated 69 P.S. §§ 610 and 6i3-615 by defrauding the plaintiffl

90. As a result of TSA, CHECCHIA, MIKE and WESTLAKE FlNANClAL's

misconduct, the Plaintiff suffered the damages outlined above and in the following additional

ways:
a. increased purchase costs;
b. damaged credit rating and reputation;
c. deprived of the use and enjoyment of the vehicles;
d. incurred cost of replacement vehicles;
e. spent time resolving problems created by Defendants’ breach;
f. incurred other incidental and consequential damages, including emotional

distress; and/or,

g. incurred increased interest and other expenses for financing the purchase
of the vehicle

COUNT III -VIOLATIONS OF THE FDCPA
(Piaintiff JESSICA FRANKLIN v. JOHN DOE REPO-SERVICE, JOHN DOE REPO-
MAN 1 and JOHN DOE REPO-MAN 2)
91. Plaintiff incorporates all of the facts and allegations set forth in this Complaint.
92. At all times relevant hereto Defendants WESTLAKE PINANCIAL, JOHN DOE
REPO~SERVICE, JOHN DOE REPO-MAN 1 and JOHN DOE REPO-MAN 2 Were attempting

to enforce a security interested related to and/or to collect an alleged debt to which was incurred

for personal, family or household purposes and is a “debt” as defined by 15 U.S.C. § 169221(5).
16

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 17 of 28

93. The aforesaid Defendants, by their conduct as described above, violated the

FDCPA as follows:

a)

b)

d)

§1692c(b) by communicating with someone other than the debtor
concerning the debt;

§i692d engaging in conduct the natural consequence of which is to harass,
oppress, or abuse a person;

§i692e(7) by engaging in conduct to disgrace the debtor by
communicating With his friends concerning the debt;

§i692f, By unfairly and unconscionany collecting or attempting to collect
the debt by its actions described above;

§1692f(6)(a) by taking the subject vehicle without a then present right of
possession

COUNT IV - VIOLATION ()F THE U.C.C.

(Plaintiff .]ESSICA FRANKLIN v. WESTLAKE FINANCIAL, JOHN DOE REPO-
SERVICE, JOHN DOE REPO-MAN 1 and JOHN DOE REPO-MAN 2)

94. Plaintiff incorporates all facts and allegations set forth in this Complaint.

95. The attempted repossession by defendants Whicli is collateral for the debt falls

within the definition of “consuiner goods” contained in 13 Pa. C.S.A. § 9102. The transaction in

question was a consumer-goods transaction in that plaintiff owed the obligation primarily for

personal, family or household purposes, and the collateral Was consumer goods.`

96. in the course of the transaction with plaintiff, defendants violated the provisions

of Article 9, Part 6 of the U.C.C., including, but not limited to committing a breach of the peace

in the attempted repossession of the subject Vehicle in violation of 13 Pa. C.S.A. § 9609(b)(2)

17

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 18 of 28

a) Harassing, oppressive and abusive behavior described above such as

threatening arrest which is an affront to public order;

b) Falsely imprisoning plaintiff in her horne and not letting her leave;
c) Refusing to leave plaintiffs’ property upon request;

d) Refusing to stop the repossession;

e) Tal<ing the vehicle while the Plaintiff was not in default.

97. Plaintiff sent defendant WESTLAKE FINANCIAL a letter requesting account
information and records pursuant in part to UCC Section 92l 0.

93. Pursuant to UCC Section 9614, and Motor Vehicle Sales Finance Act Section
624, defendants WESTLAKE FlNANCIAL was required to send plaintiffs a notice of the
repossession

99. Defendants WESTLAKE FINANCIAL never sent plaintiff a notice of
repossession

100. WESTLAKE FINANCIAL was required to respond within l4 days.

101 . WESTLAKE FINANCIAL never responded to the aforementioned letter.

102. These U.C.C. violations caused plaintiff actual damages in extreme emotional
distress and, in additional and/or in the alternative, statutory damages under 13 Pa. C.S.A. §

9625.

18

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 19 of 28

COUNT V -
VIOLATIONS OF THE FAIR CREDIT EXTENSION UNIFORMITY ACT(FCEUA)
73 P.S. § 2270.1 et. seq.
ANI) THE PENNSYLVANIA UNFAIR TRADE PRACTICES AND CONSUMER
PROTECTION LAW (UTPCPL)
73 P.S. § 201-1 et.-seq.
(All Plaintiffs v. WESTLAKE FINANCIAL, JOHN DOE REPO-SERVICE,
JOHN D()E REPO-MAN 1 and JOHN DOE REPO-MAN 2)

103. Plaintiff incorporates all facts and allegations set forth in this Complaint.

104. Defendant WESTLAKE FINANCIAL is a “creditor” and the remaining
defendants are “debt collectors” as defined by 73 P.S. § 2270.3 of the FCUEA.

105. Plaintiff is a “consumer” as defined by 73 P.S. § 2270.3 of the FCUEA.

106. Insofar as the subject RISC was obtained through fraud and was thus
unenforceable, thus plaintiff could not be in default.

107. lnsofar as the Defendants did not have a then present right of possession of the
vehicle and they committed the above described breaches of the peace, which then terminated
any then present right of possession, because neither the RISC, MVSFA nor the UCC permits
non-judicial repossession of the vehicle in breach of the peace.'

108. insofar as the aforesaid breaches of the peace described above terminated its
present right of possession of the vehicle as collateral, then Defendants had no right to its
possession insofar as the purchase contract does not allow repossession of the vehicle in breach
of the peace.

109. WESTLAKE FINANCIAL refused to acknowledge its liability for the seiler’s and

repossessors’ misconduct and has sought to enforce an unenforceable contract.

llO. As a result of the continued threatened repossession by defendants, plaintiff has

19

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 20 of 28

lost the unfettered use and enjoyment, loss of value of the vehicle and the value of their asset,
emotional distress, and damage to their credit ratings and reputation.

111. Defendants' contact with Plaintiffs VICTORIA FRANKLIN, LAMAR .l.
NETTLES and EILEEN PITT were unauthorized and unlawful contacts with third-parties, as was
the release of Plaintiff JESSICA FRANKLlN's private, personal information-

112. All of the above contacts by Defendants were “communications” relating to a debt
as defined by 73 P.S. § 2270.3 of the FCUEA.

113. 'l`he foregoing acts and omissions of these Defendants constitute numerous and
multiple violations of the FCEUA and UTPCPL, including but not limited to 73 P.S. § 2270.4(21),
as evidenced by the following conduct

a) Engaging in conduct the natural consequence of which is to harass,
oppress or abuse any person in connection with the collection of a debt;

b) The use of false, deceptive or misleading representations or means in
connection with the collection of a debt;

c) Making false, deceptive, or misleading representations with regard to the
character, amount or legal status of the alleged debt;

d) The use of false representation or deceptive means to collect a debt or

obtain information about a consumer;

e) The use of unfair or unconscionable means to collect or attempt to collect
an alleged debt;
f) Attempting to collect any or enforce any security interest not authorized by

agreement or permitted by law; l

20

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 21 of 28

g) Repossessing a vehicle without a then present right of possession;

h) Contacting third-parties unrelated to the debt without authorization;

i) Contacting third-parties and releasing information about the consumer or
debt.

114. Defendants’ acts as described above were done with malicious, intentional,
willful, reckless, wanton and negligent disregard for Plaintiffs’ rights under the law with the
purpose of coercing Plaintiffs to pay the debt.

115. As a result of the above violations of the FCUEA and UTPCPL, Plaintiffs have
suffered ascertainable loss in the value of the vehicle entitling them to an award of statutory,
actual and treble damages and attorney’s fees and costs.

COUNT Vl - NEGLIGENCE
(Plaintiff JESSICA FRANKLIN v. WESTLAKE FINANCIAL, JOHN DOE REPO-
SERVICE, JOHN DOE REPO-\/IAN 1 and JOHN DOE REPO-MAN 2)

116. Plaintiff incorporates all facts and allegations set forth in this Complaint.

117. Non-judicial repossessions are inherently dangerous and include the foreseeable
risk of confrontation, violence and tortious acts.

118. Defendant WESTLAKE FINANCIAL had a non-delegable duty to guarantee that
any non-judicial repossession Would be effectuated in accordance With the law and without a
breach of the peace.

119. ln order to fulfill its non-delegable duty to guarantee that any non-judicial
repossessions were effectuated in accordance with the law and without a breach of the peace, had

a duty to exercise reasonable care in the hiring and use of repossession agencies and agents.

120. Defendants breached their duty of care in their hiring, training and supervision of

21

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 22 of 28

the agents used to perform non-judicial repossessions.

121. Defendants’s agents breached their duty of care in effectuating repossessions in

accordance with the applicable laws and standards

122. Defendants breached their duty and were negligent in the following manner;

1)

2)

3)

4)

5)

6)
7)

8)
9)

10)

in

Failing to investigate or obtain adequate assurance that all agencies
and agents were certified by a reputable organization;

Failing to investigate or obtain adequate assurance that all agencies
and agents knew, understood and operated according to the

applicable laws, including the law against breaching the peace;

F ailing to investigate or obtain adequate assurance that all agents
received adequate training and were subject to adequate

supervision;

Failing to investigate or obtain adequate assurance that all agencies
and agents employed adequate recordkeeping procedures;

F ailing to investigate or obtain adequate assurance that all agencies
and agents had adequate written guidelines for the performance of

their jobs and for effectuating repossessions;

Failing to have adequate written guidelines regarding how

repossessions must be effectuated to avoid breaches of the peace.

Failing to investigate or obtain adequate assurance that all agents

were certified by a reputable organization;

Failing to employ proper recordkeeping polices and practices;

Failing to have adequate written guidelines regarding how

repossessions must be effectuated to avoid breaches of the peace;

Failing to have adequate knowledge of the law and regulations

related to self~help or non-judicial repossessions, including not

breaching the peace, and consumer rights to resist.

Failing to adhere to the laws and regulations requiring non-judicial
repossessions may only be effectuated without a breach of the peace, and
without conflict or objection

123. Defendants do not now and have never investigated or obtained adequate

assurance of _any of the following:

(1)
(2)

(3)

that any of its repossession services or agents is certified;

that any of its repossession services or agents understands the laws
and regulations related to self~help repossessions;

that any of its repossession services or agents understands what is

22

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 23 of 28

and is not a breach of the peace;

(4) its repossession services’ and agents’ standard policies and
practices for effectuating self-help repossessions;

(5) its repossession services’ and agents’ criminal backgrounds;

(6) whether its repossession services or agents carry weapons while
performing self-help repossessions;

(7) its repossession services’ and agents’ record keeping policies and
practices,~ especially related to consumer objections and/or '
confrontations;

(8) its repossession services’ and agents’ policies and practices related
to consumer objections and demands to stop the self-help
repossession;

(9) its repossession services’ and agents’ policies and practices related to
using police to effectuate self-help repossessions,

124. Defendants do not now and have never provided its repossessions services or
agents with any training, instruction, guidelines (written or otherwise) on how to effectuate self-
help repossessions, including any information regarding the laws applicable to self-help
repossessions, what a breach of the peace is, consumer rights to object and demand a stop to the
repossession, using the police to effectuate the repossession, yelling at or insulting consumers,
recording the circumstances of any consumer objections or confrontations, and/or regarding what
to do or not to do during a self-help repossessionl

125. Defendant JOI-lN DOE REPO-SERVICE, as employer and principal of defendant
repossession agents, was responsible for hiring, training and supervising defendant repossession
agents with respect to their repossession activities undertaken on behalf of WESTLAKE
FINANCIAL and JOHN DOE REPO-SERVICE.

l26. Defendants JOHN DOE REPO-SERVICE had a duty to train and supervise the

defendant repossession agents so that they would act in accordance with all applicable laws, and

with due regard for the rights, health and safety of the public with whom they would interact on

23

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 24 of 28

behalf of their employers

127, The Plaintiff JESSICA FRANKLIN, as either owner and possessor of the subject
vehicle and/or the owner and occupier or part of the family residing at the premises where the
unlawful attempted repossession took place, were owed the duty of proper hiring, training and/or
supervision by Defendants WESTLAKE FfNANCIAL and JOHN DOE REPO-SERVICE.

128. The aforesaid hiring, training and supervision, or lack thereof, encouraged
negligent conduct, and was in complete disregard for the health, safety and rights of persons,
including the Plaintiffs; therefore, the acts of WESTLAKE FlNANClAL and JOHN DOE
REPO-SERVICE were negligent

129. As a direct result of the aforesaid breach of duty, Plaintiff suffered the injuries and
damages set forth more fully above and below.

COUNT VII - TRESPASS
(Plaintiff JESSICA FRANKLIN v. VVESTLAKE FINANCIAL, J{)HN DOE REPO-
SERVICE, JOHN DOE REPO-MAN 1 and JOI-IN DOE REPO-MAN 2)

130. Plaintiff incorporates all facts and allegations set forth elsewhere in this
Complaint.

131. Defendants intentionally and voluntarily entered upon Plaintiff JESSICA
PRANKLlN's lands and intentionally and voluntarily refused to leave said premises without
privilege, and with notice that trespassing was forbidden

132. Plaintiff JESSICA FRANKLIN owns the subject residential property more
specifically identified above, the premises upon which Defendants entered

133. Plaintiff was in possession of the aforesaid real estate when Defendants entered

and refused to leave.

24

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 25 of 28

l34. Defendants trespassed without right or privilege by interfering with Plaintiff's
ownership and possession of the subject vehicle.
135. The acts of Defendants were malicious, wanton and reckless

136. As a direct result of the aforesaid acts of Defendants, the Plaintiff suffered the

- emotional distress and other damages outlined above.
COUNT VIH - NEGLIGENT VIOLATIONS OF
THE TELEPHONE CONSUMER PROTECTION (ACT 47 U.S.C. § 227 et seq.)

(Plaintiffs VICTORIA FRANKLIN, LAr\/IAR J. NE'I`TLES and EILEEN PIT’I` v.
WESTLAKE FINANCIAL and JOHN DOE REPO-SERVICE

137. Plaintiffs incorporates all facts and allegations set forth elsewhere in this
Complaint.

138. The foregoing acts and omissions of defendants constitute numerous and
multiple negligent violations of the TCPA, including but not limited to 47 U.S.C.§227(b)(1)(iii)
by each and every call in violation of the statute, pursuant to 47 U.S.C.§227(b)(l)(B).

COUNT IX - KN()WING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
CONSUMER PRO'I`ECTION ACT, 47 U.S.C. § 227 et seq.
(Plaintiffs VICTORIA FRANKLIN, LAMAR J. NETTLES and EILEEN PITT v.
WESTLAKE FINANCIAL and JOHN DOE REPO-SERVICE

l39. Plaintiffs incorporate all facts and allegations set forth elsewhere in this

Complaint.

140. The foregoing acts and omissions ofDefendants constitute numerous and multiple
knowing and/or willful violations of the TCPA, including but not limited to 47 U.S.C.§227(b)(1)
(iii) by each and every call in violation of the statute, pursuant to 47 U.S.C.§227(b)(1)(]3).'

14l. “Willful” is defined as “the conscious and deliberate commission or omission of

3

such act, irrespective of any intent to violate any . . . rule or regulation of the Cornmission . . . .’

25

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 26 of 28

47 U.S.C. § 312®(1).
142. Defendant intentionally and voluntarily made numerous calls to Plaintiffs' cell

phones.

COUN’I` X- INVASION {)F PRIVACY
PLAINTIFFS v. WES'I`LAKE FINANCIAL and JOHN DOE REPO- SERVICE

 

l43. Plaintiffs incorporate all facts and allegations set forth in this Complaint.

144. Defendants intentionally interfered, physically or otherwise, with the solitude,
seclusion and or private concerns or affairs of the Plaintiffs by involving third-parties in the
notice of and collection of a debt who was unrelated to said debt.

145. Defendants intentionally caused harm to Plaintiffs’ emotional well being by
engaging in highly offensive conduct in the course of collecting a debt, as described herein

146. Plaintiffs had a reasonable expectation of privacy in Plaintiffs’ respective solitude,
seclusion, and or private concerns or affairs.

147. The intrusion by Defendants occurred in a way that would be highly offensive to a
reasonable person in that position

148. As a result of such invasions of privacy, Plaintiffs are entitled to actual damages

in an amount to be determined at trial from each and every Defendant

PRAYER FOR RELIEF

26

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 27 of 28

WHEREFORE, Plaintiff respectfully prays thatjudgment be entered against the

Defendants for the following:

A.

Declaratory judgment that the noted defendants’ conduct violated the MVSFA,

FDCPA, UTPCPL, UCC and FCEUA.

B.

C.

F.

G.

Statutory damages pursuant to 15 U.S.C. § 1692k;

Actual damages for fear and emotional distress;
Reasonable attorney fees and costs.

Damages under the U.C.C. as described herein;

Actual damages for loss of the use and value of the vehicle;

for defendants’ negligent violations of 47 U.S.C.§227(b)(l), $500.00 in statutory

damages for each and every call that violated the TCPA, pursuant to 47

U.S.C.§227(b)(3)(B);

H.

for defendants’ willful and/or knowing violations of 47 U.S.C.§ 227(b)(l), up to

$l,500.00 for each and every call that violated the TCPA, pursuant to 47

u.s.c.§zz?(b)(3)(B);

l.

J.

l49.

Treble damages, punitive damages, pursuant to the FCEAU and UDAP.

Punitive damages

TRIAL BY JURY

Plaintiff is entitled to and hereby respectfully demands a trial by jury. US Const.

amend. 7. Fed. R. Civ. Pro. 38.

27

 

Case 2:12-cV-00095-HB Document 1 Filed 01/09/12 Page 28 of 28

Dated: {::)l z@©l/ i`<§jt ld-

28

m

l

ifr/a

 

BENSLEY LAW OFFICES, LLC
Attorney for Plaintiff

By: William C. Bensley, Esquire
Pa. Id. No. 79953

1500 Walnut Street, Suite 900
Philadelphia, PA 19102

(267) 322-4000

 

